
All issues in this case were decided by this court’s recent case of Savoie v. Grange Mut. Ins. Co. (1993), 67 Ohio St.3d 500, 620 N.E.2d 809: “Insurers may contractually preclude intrafamily stacking — the stacking of uninsured/underinsured limits of polices and coverages purchased by family members in the same household. * * *” Savoie, supra, paragraph two of syllabus.
Because this case involves the stacking of two insurance policies owned by two brothers, but the jurisdictional memoranda received by this court do not reveal whether the brothers lived in the same household, we remand the cause to the trial court to obtain the information from the parties which is necessary to properly apply the intrafamily/interfamily stacking test announced in Savoie, supra, and to apply Savoie.
AW. Sweeney, Douglas, Resnick, F.E. Sweeney and Pfeifer, JJ., concur.
Moyer, C.J., concurs separatély.
Wright, J., dissents.
